                Case 2:16-cr-00133-TLN Document 35 Filed 11/16/16 Page 1 of 4


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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:16-CR-00133-TLN
12                                Plaintiff,            STIPULATION TO CONTINUE STATUS
                                                        CONFERENCE AND TO EXCLUDE TIME
13                          v.                          PERIODS UNDER SPEEDY TRIAL ACT;
                                                        FINDINGS AND ORDER
14   DEANDREW JORDAN;
     GRANT BROWNING; AND                                DATE: November 17, 2016
15   ATHANASIOS DIMOU,                                  TIME: 9:00 a.m.
                                                        COURT: Hon. Troy L. Nunley
16                                Defendants.
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19                                               STIPULATION

20         1.      By previous order, this matter was set for a status conference on November 17, 2016.

21         2.      By this stipulation, defendants Deandrew Jordan, Athanasios Dimou, and Grant

22 Browning, through their undersigned counsel, now move to continue the status conference until

23 December 15, 2016, and to exclude time between November 17, 2016, and December 15, 2016, under

24 Local Code T4.

25         3.      The parties agree and stipulate, and request that the Court find the following:

26                 a)      The government has represented that the discovery associated with this case

27         includes investigative reports and related documents in electronic form, totaling approximately

28         100 pages, in addition to several hours of electronic surveillance audio and video recordings.


      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND    1
      ORDER
             Case 2:16-cr-00133-TLN Document 35 Filed 11/16/16 Page 2 of 4


 1        The government is in the process of producing the electronic surveillance discovery, which

 2        defense counsel will need time to review.

 3                b)      Counsel for defendants desire additional time to consult with their respective

 4        clients, to review the current charges, to conduct investigation and research related to the

 5        charges, to review and copy discovery for this matter, to discuss potential resolutions with their

 6        clients, and to otherwise prepare for trial.

 7                c)      Counsel for defendants believe that failure to grant the above-requested

 8        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 9        into account the exercise of due diligence.

10                d)      The government does not object to the continuance.

11                e)      Based on the above-stated findings, the ends of justice served by continuing the

12        case as requested outweigh the interest of the public and the defendant in a trial within the

13        original date prescribed by the Speedy Trial Act.

14                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

15        et seq., within which trial must commence, the time period of November 17, 2016 to

16        December 15, 2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),

17        B(iv) [Local Code T4] because it results from a continuance granted by the Court at defendants’

18        request on the basis of the Court’s finding that the ends of justice served by taking such action

19        outweigh the best interest of the public and the defendant in a speedy trial.

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     STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND      2
     ORDER
                 Case 2:16-cr-00133-TLN Document 35 Filed 11/16/16 Page 3 of 4


 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

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     Dated: November 15, 2016                                 PHILLIP A. TALBERT
 6                                                            Acting United States Attorney
 7                                                            /s/ JAMES R. CONOLLY
                                                              JAMES R. CONOLLY
 8                                                            Assistant United States Attorney
 9
     Dated: November 15, 2016                                 /s/ Chris Cosca
10                                                            CHRIS COSCA
11                                                            Counsel for Defendant
                                                              Deandrew Jordan
12
     Dated: November 15, 2016                                 /s/ Michael Petrik
13                                                            MICHAEL PETRIK
                                                              Counsel for Defendant
14                                                            Athanasios Dimou
15 Dated: November 15, 2016                                   /s/ J. Toney
                                                              J. TONEY
16
                                                              Counsel for Defendant
17                                                            Grant Browning

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      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND      3
      ORDER
               Case 2:16-cr-00133-TLN Document 35 Filed 11/16/16 Page 4 of 4


 1                                          FINDINGS AND ORDER

 2          IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’

 3 stipulation, and good cause appearing therefore, adopts the parties’ stipulation in its entirety as its order.

 4 The Court specifically finds the failure to grant a continuance in this case would deny counsel

 5 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

 6 The Court finds the ends of justice are served by granting the requested continuance and outweigh the

 7 best interests of the public and defendant in a speedy trial.

 8          The Court orders the time from the date the parties stipulated, up to and including December 15,

 9 2016, shall be excluded from computation of time within which the trial of this case must be

10 commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) (Local Code

11 T4). It is further ordered that the November 17, 2016 status conference shall be continued until

12 December 15, 2016, at 9:30 a.m.

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14          IT IS SO FOUND AND ORDERED this 15th day of November, 2016.

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18                                                                 Troy L. Nunley
                                                                   United States District Judge
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      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND      4
      ORDER
